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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------- X
TAVON TURNER, on behalf of himself and all others
similarly situated,

                                  Plaintiff,                                   STIPULATION
                                                                             EXTENDING TIME
               -against-                                                     TO ANSWER/MOVE
SMMB INC., d/b/a Purple Plains,                                                    24 Civ. 8282 (RA)

                                   Defendant.
--------------------------------------------------------------------- X

        IT IS HEREBY STIPULATED AND AGREED, by the undersigned counsel,

that the time within which Defendant must answer, move or otherwise respond to the

Complaint in the above-captioned action is extended through and including February 3,

2025.

Dated: White Plains, NY
       January 2, 2025

JOSEPH AND NORINSBERG, LLC                                           KEANE & BEANE, P.C.

By: ___ /s/ Arjeta Albani___________                           By: ____/s/ Edward J. Phillips
    Arjeta Albani                                                  Edward J. Phillips
    Attorney for Plaintiff                                         Attorneys for Defendant
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    (212) 406-6890 (fax)                                           ephillips@kblaw.com
    arjeta@norinsberglaw.com



                                                    SO ORDERED:


                                                    ___________________________
                                                    Ronnie Abrams
                                                    United States District Judge
                                                    January 3, 2025
